 

\OOO\!O\Ul-l>~b~)(\)>-‘

NNNNNNN[\)N»_I»_I)-l)-~»-J»_A»-d)-l»_->_¢
OO\IO\U`l-LL)J[\)'_"O\OOO\]O\UI-PWN’_‘O

 

 

CaSe 06-01108 Filed 10/20/06 DOCZ ‘“

/! _L F\Léo"' n t
POSTED ON WEB SITE (]C`|' 2 0 2006

 

 

 

 

UN|TED STATES BANKRUPTC¥ COURT
EASTERN DlSTRlCT OF CAL|FORN|A

 

 

FOR PUBLICATION j

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

 

FRESNO DIVlSION

In re Case No. 05-18578-B-l3
Kenneth L. Cleveland,

Debtor.

)
Sara L. Kistler, Acting United States Adversaiy Proc. No. 06~l 108
Tnistee, '
DC No. UST-l
Plaintiff, DC No. FPS-l

V.

Kenneth L. Cleveland,
Defendant.

 

MEMORANDUM DECISION REGARDING UNITED STATES
TRUSTEE’S APPLICATIGN FOR ENTRY OF DEFAULT JUDGMENT
AND DEFENDANT’S MOTION TO SET ASIDE ENTRY OF DEFAULT

Jeffrey J. Lodge, Esq., appeared on behalf of Sara L. Kistler, Esq., Acting U.S. Tiustee.

-Frank P. Samples, Esq., appeared on behalf of the debtor/defendant, Kenneth L.

Clcveland (the “Debtor”).

This adversary proceeding posits the question, “What happens to an objection to
chapter 7 discharge after the case is converted to chapter 13?” The United States Trustee
(“UST”) filed this adversary proceeding to deny the Debtor’s discharge, or dismiss the
case, based on allegations arising under ll U.S.C. §§ 707(b) and 727(a).l The Debtor

 

1Unless otherwise indicated, all chapter, section and rule references are to the
Bankruptcy Code, ll U.S.C. §§ 101-1330, and to the Federal Rules of Banknlptcy

V’ZX

 

\OOO\]O\Lll-l>~b.)l\)>-¢

N[\)N[\)NN[\)[\)I\)»-)-d»-l>-d>-¢>-l»-a»_r»-\»_»
OO\]O\U`I-l>~b-)[\)'_‘O\OOO\]O\U`I-Bb)l\)\_‘@

 

 

CaSe 06-01108 Filed 10/20/06 DOC 28

failed to file a responsive pleading to the UST’s complaint, and consequently his default
was entered Before the court could enter the default judgrnent,2 the Debtor converted his
case from chapter 7 to chapter 13. Presently before the court is the UST’s application for
entry of a default judgment (the “Application”) and the Debtor’s motion to vacate the
entry of default (the “Motion”). For the reasons set forth below, both the UST’s
Application and the Debtor’s Motion will be DENIED. Because the discharge objection
is no longer justiciable, the adversary proceeding will be stayed so long as the Debtor
remains in chapter 13.

This Mernorandum contains findings of fact and conclusions of law required by
Federal Rule of Civil Procedure 52 (made applicable to this adversary proceeding by
Federal Rule of Bankruptcy Procedure 7052). The court has jurisdiction over this matter
pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2)(A)-
Background.

The Debtor filed a petition for chapter 7 relief on October 6, 2005. The section
341 meeting of creditors was concluded in November 2005. Later that month, the UST
received information from the chapter 7 trustee suggesting that the Debtor’s schedules did
not accurately report the Debtor’s income and expenses, and that he failed to disclose a

substantial loan from his retirement account and the purchase of an automobile ln

 

Procedure, Rules 1001-9036, as enacted and promulgated prior to October 17, 2005, the
effective date of The Bankiuptcy Abuse Prevention and Consumer Protection Act of
2005, Pub. L. 109-8, Apr. 20, 2005, 119 Stat. 23.

2The bankruptcy courts of this District permit the plaintiff in an adversary
proceeding to apply for the entry of default by ex parte application upon a showing that
the summons and complaint were properly served and that no responsive pleading has
been filed. The default order specifies a procedure for entry of the judgment, either by a
noticed hearing with evidence, or in certain circurnstances, the judgment may be entered
upon ex parte application. Here, the default order required the UST to Set the matter for a
noticed hearing with supporting evidence.

l`\)

\OOO\]O\U\.[>(JJ[\)>-

,_r,_r
>-‘O

[\) N N N [\) N N [\) [\) >-* d-l »-‘ r-* >-l >_l >_1 )_d
00 q O\ Lll -P U~) N ""‘ 0 \O OO \] O'\ Ll`l h L»~) [‘\3

 

 

CaSe 06-01108 Filed 10/20/06 DOC 28

January 2006, the UST requested documents and additional information from the Debtor.
The Debtor responded, requesting additional time and consenting to delay entry of the
discharge order. The UST requested an extension of time to object to discharge or move
to dismiss. The bar date was extended by agreement of the parties to March 17, 2006.

On March 16, 2006, the UST commenced this adversary proceeding with a
complaint objecting to discharge under §§ 727(a)(3), 727(a)(4)(a) and 727(a)(5)(the
“Complaint”). Altematively, the UST sought to have the case dismissed under § 707(b)
on the grounds that a chapter 7 discharge would be a “substantial abuse.” The Complaint,
Summons and Notice of Status Conference were served on the Debtor and his counsel on
March 21. The Debtor failed to file a responsive pleading3

On March 30, 2006, the Debtor responded to the UST’s request for documents by
conceding that he did not qualify for a discharge, and offering to have the case dismissed
Specifically, Debtor’s counsel wrote:

Mr. Cleveland contacted me on Monday and at my request provided me with his
most recent pay Stubs and his 1099 for _005.

Based upon this evidence he does not qualify for a discharge

l will sign a stipulation for the case to be dismissed if that is acceptable.

The UST filed an ex parte application for entry of default, which was entered on
May 16, 2006. On June 7, the UST filed and served a notice of hearing and this
Application for entry of a judgment on the § 727 claims, supported by declarations and
exhibits The Debtor did not file a response to the Application. lnstead, four days before
the hearing, the Debtor moved to convert his case to chapter 13. An order converting the
case was entered on July 5. The Debtor’s counsel appeared at the hearing on July 7 and
opposed the entry of a judgment solely on the grounds that the case had been converted to
chapter l3. After oral argument, the court took the matter under submission.

On July ll, 2006, before the court ruled on the UST’s Application, the Debtor

 

3’The answer was due 30 days after the summons issued

3

\OOO\]O\U\-l>'~))l\)>-‘

I\JNNN[\)[\)NNN»->-l»-l)-‘»-¢)-l>--r-¢)-l»-¢

 

CaSe 06-01108 Filed 10/20/06 DOC 28

filed the present Motion to set aside the entry of default.4 The Motion was based on the
assertion by Debtor’s counsel that the Debtor has meritorious defenses to the Complaint
and that he had proposed a chapter 13 plan to pay creditor's. The Motion did not include a
proposed responsive pleading, or anything actually signed by the Debtor. The UST
opposed the Motion. After oral argument on August 9, the court also took the Debtor’s
Motion under submission.

Gn September 5, 2006, the Debtor successfully confirmed his chapter 13 plan. It
provides for payments of $575 per month for 36 months with a 50% distribution to
unsecured creditors Neither the UST, the chapter 13 trustee, nor any creditor objected to
confirmation of the plan.

Analysis. 7

The UST’s Obiection to Chapter 7 Discharge is Not Justiciable in Chapter 13.

The UST seeks entry of a judgment denying the Debtor’s chapter 7 discharge
under § 727(a), notwithstanding the fact that the Debtor is now in chapter 13. The UST
argues based on the holding in Sear/es v. Rz'/ey (In re Searles), 317 B.R. 368 (9th Cir.
BAP 2004) that an adversary proceeding under § 727 remains viable even though the
underlying chapter 7 case is converted to chapter 13. However, in Sear[es, the debtor was
unable to confirm a chapter 13 plan and the court deferred adjudication of the trustee’s
objection to discharge until the case was reconverted to chapter 7.5 Discussing the
concepts of abatement and mootness, the court observed that the conversion to chapter 13
abated the need to rule on the trustee’s § 727 claims, but it did not render the claims as

moot based on tire “possibility of reconversion to chapter 7.”

 

4The Debtor’s Motion was titled “Motion to Set Aside Default Judgment,” but
upon inquiry by the court, the Debtor’s counsel indicated that his Motion was intended to
set aside entry of the default, not a default judgment, as no judgment has yet been entered

5The trial court in Searles did bifurcate and proceed with trial on a disputed issue
involving property of the estate. Resolution of that issue was germane to the court’s
decision to deny confirmation of the chapter 13 plan.

4

 

\OOO\]O\Ul-l>~b~)[\.)>-l

I\) l\) [\J l\) l\) [\.) N I\) [\.) >-* »-¢ )-d )-a )-1 »--i ,_i ._i ,__\ ,....»
00 \l O'\ Ul -l>~ L)~) I\) >-* O \O 00 \l O'\ U`l -l>~ 03 I\) *~‘ O

 

 

CaSe 06-01108 Filed 10/20/06 DOC 28

Since a case converted from chapter _7 to chapter _13 cannot be dismissed as of right
under § 13_07(b), every such conversion carries with it the possibility of
i‘econversion to chapter 7. . . .

One implication of_the fact that reco_nversion to chapter 7 cannot be ruled out is

that pendm litigation addressed to issues s ecific to chapter 7 may recede into the

backgroun whi e the case is in chapter 13 ut may later i'e-eme_rge. A_lthough
there may be no reaso_n to resolve the chac}i)ter 7 discharge question during the
pendency of the case in chapter 13, such oimancy does not equate with

mootness. . . .

Searles, 317 B.R. at 374 (citations omitted).

The Searles court also noted that a pending meritorious objection to chapter 7
discharge “may serve the useful purpose of increasing a debtoi"s incentives to confirm
and complete performance of a chapter 13 plan.” [a’. The Searles decision has only
limited application here because the case was a chapter 7 when the trial court adjudicated
the trustee’s objection to discharge The Searles decision stopped short of instructing
trial courts what to do with a chapter 7 discharge complaint while the case is still in
chapter 13.

The court cannot rule on the UST’s Application at this time because it is not
justiciable; i.e., there is no case or controversy. The voluntary conversion to chapter 13
terminated the application of chapter 7 before the hearing on the UST’s Application. The
Complaint arises under §§ 707 and 727 of the Banl<ruptcy Code, which are found in
subchapters 1 and II of chapter 7. Under § 103(b), “Subchapters I and II of chapter 7 of
this title apply only in a case under such chapter.” By the plain meaning of the
Banl<iuptcy Code, §§ 707 & 727 do not apply so long as the case is in chapter 13. A
ruling under those Code sections is unnecessary and would be inappropriate at this time

The “case or controversy” doctrine, which limits the jurisdiction of federal courts,

was recently summarized by the Ninth Circuit in Earth Islcmd Instl'z‘uz‘e v. Ruz‘henbeck, 459 ,

F.3d 954, 961-62 (9th Cir. 2006):
///
///
///

\OOO\]O\Ul-I>UJN>-\

N[\)NNI\)[\)NN[\))-d)-l»_l>_l>-dr_\)_i>-l\--r-»
OO\lO\Ul-PWN'_‘O\OOO\}O\Lll-BUJN"*‘O

 

 

CaSe 06-01108 Filed 10/20/06 DOC 28

“The jurisdiction of federal courts is defined and limited by_ Aiti_cle III of the _
Constitution. ln terms relevant t_o the question for decision in this case, the judicial

ower of federal courts is constitutionall restricted to ‘cases’ and

controversies.”’ Flast v. _Cohen, 392 U_. . 83, 94, 88 S.Ct. 194_2, 20 L.Ed.2d 947
(1968). Couits inust_refrain from deciding abstract or h othetical controversies
and from rendering impermissible advisory opinions wit respect to such
controversies See id. _at 96, 88 S.Ct. 1942. “[A] federal court has neither the power
to render advisory o inions nor to decide questions that cannot affect the rights of
litigants in the case efore the_m. Its 1judgments must resolve a real an_d substantial
cont_ro_versy admitting of specific re ief_ through a decree of a conclusive character,
as distinguished from an opinion advisi]r\}g what the law would be upon a

e

hypothetical state of facts Prez'ser v. _ wkirk, 422 _U.S. 395, 401, 95 S.Ct. _2330,

45 L.Ed.2d 272 (1975) (internal quotation marks omitted). An adviso o inion

results if the court resolves a question of law that is not presented b t e acts of

the case. See, e._g., _In re M_z`chaelson, 511 F.Zd 882, 8_93 (9th_Cir.1_9 5). (“[l]t
would be constitutionally improper for us to reach this question since the issue
lacks the necessary facts to make it concrete.”).

Here, the UST is essentially asking the court to issue an advisory opinion because
the question of a chapter 7 discharge has no meaning so long as the Debtor is in chapter
13. The court is being asked to make a ruling based on a hypothetical set of facts; i.e,
“Would the Debtor be entitled to a discharge if he were in chapter 7?” The entry of a
judgment against the Debtor cannot affect the rights of the Debtor so long as he remains
in chapter 13. This is not to say that the facts alleged in the Complaint would not have
been relevant to the Debtor’s good faith and to confirmation of his chapter 13 plan.6
§ 1325(3)(3). See 111 re Warrelz, 89 B.R. 87, 93-94 (9th Cir. BAP 1988); fn re Paa'l'l[a,
213 B.R. 349, 352-53 (9th Cir. BAP 1997). However, as noted above, the Debtor has
now confirmed a chapter 13 plan without any objection There is nothing in tlie record to
suggest that the Debtor is not performing under his plan and the court must presume that

he will eventually receive a discharge under § 1328.

///

 

6The UST argues that the Debtor’s conversion to chapter 13 is a mere “delaying
tactic,” rather than a sincere effort to reorganize and pay his debts This argument is not
supported by any evidence, and it is belied by the Debtor’s chapter 13 plan which
provides a 50% distribution to general unsecured creditors The UST did not object to
conversion or to plan confirmation Moreover, the Debtor’s motive for converting to
chapter 13 is irrelevant to the “case or controvei'sy” issue before the couit.

6

\OOO\\O'\Ul-l>~b)i\)»_\

[\) N N [\) [\) [\) [\) [\) [\.) |-'\ \-‘ \-l v-\ »-i »_a |._a ,...i ,_r ,_r
00 \] O\ Ul -I>~ L)J [\-) »-\ O \O 00 \l O\ Ul -i>~ UJ K\J --‘ O

 

CaSe 06-01108 Filed 10/20/06 DOC 28

The Debtor Has Not Shown “Good Cause” to Set Aside the Entrv of Default.

The Debtor asks the court to vacate the entry of default The default order was
entered before the case was converted to chapter 13, so it was not affected by the
justiciability problem discussed above Moreover, the conversion does not preclude the
court from ruling on the Debtor’s Motion; the ruling is appropriate to clarify the status of
the adversary proceeding

Federal Rule of Civil Procedure 55 (made applicable to this adversary proceeding
by Fed.R.Banl<r.P. 7 055) provides that a default may be entered against a party against
whom a judgment for affirmative relief is sought. Rule 55(c) allows a court to set aside
an entry of default for “good cause shown.” Tlie “good cause” analysis under Rule 55(c)
considers three factors:

(1) whether the defendant engaged in culpable conduct that led to the default',

(2) whether setting it aside would prejudice the adversary; and

(3) whether defendant has presented a meritorious defense
Frai-zc/zl'se Holdz')-zg II, LLC i_). Huntz')igr‘on Restaizrants Groz,ip, lnc. 375 F.3d 922, 925-26
(9th Cir. 2004) (citation ormtted).

The above factors are disjunctive, meaning that the trial court may decline to
vacate the default based on any one of the three factors Id. at 926 (citation omitted). The
defendant bears the burden of showing that any of the three factors favor setting aside the
default. Ia’. (citation omitted).

First, the Debtor’s failure to respond to the UST’s request for documents, the
Debtor’s failure to answer the UST’s Complaint, and the Debtor’s election to convert this
case to chapter 13 instead of responding to the UST’s Application for judgment, all
demonstrate that the default was a willful choice by the Debtor. Although the Debtor’s
election to convert to chapter 13 is not, by itself, a “culpable act,” it was done after a
lengthy delay and to avoid entry of an adverse judgment lt also shows that the Debtor
did not intend to defend the Complaint on the merits, thereby validating the default. lt is

not clear why the Debtor now wants the default vacated, since it has no meaning in

7

\QOO\IO\LIl-l>~b-)[\)>_a

[\)[\)N[\)[\)l\)[\_)[\)[\)»_a>_)>-a»-a»-\)-l>-l)-\>-l»-i
OO\]O\LhLL)J[\J*-‘O\OOO\]O\UI-l>L)JN*-‘O

 

 

CaSe 06-01108 Filed 10/20/06 DOC 28

chapter 13, except to suggest that the Debtor wants to preserve a “second chance” to
defend the adversary proceeding should his chapter 13 prove unsuccessful

Second, the court is persuaded that the UST would be prejudiced if the default
were set aside The UST is vested with the responsibility to oversee the administration of
bankruptcy cases 28 U.S.C. § 586(a)(3). The UST has limited resources, yet she
devoted substantial time and effort in trying to work with the Debtor to avoid litigation in
the first place The Debtor could have converted his case to chapter 13 as early as March
2006, when his attorney acknowledged that there was a potential problem with the
Debtor’s ability to receive a chapter 7 discharge Yet the case remained in chapter 7 for
another three months The delay forced the UST to invest the time and prepare the
pleadings necessary to move this adversary proceeding forward The Debtor had
numerous opportunities to respond to the UST and to avoid the unnecessary expenditure
of resources

Third, the Debtor has failed to present a meritorious defense to the UST’s
objection. The Debtor filed nothing in response to the UST’s Application to show that he
has any defense The Debtor’s counsel filed a declaration regarding the Debtor’s income
in support of the Motion, and denying that the Debtor made improper statements on his
schedules The UST objected to the testimony of the Debtor’s counsel on “hearsay”
grounds The court agrees and hereby sustains the UST’s evidentiary objection. The
attorney’s declaration of facts that could only have come from the Debtor is either hearsay
or speculation In addition, the Debtor’s Motion fails altogether to address the allegations
in the Complaint relating to the omission of material information from the Debtor’s
schedules Tlie court is not persuaded that the Debtor has shown “good cause” to set
aside the entry of default
/ / /
/ / /
/ / /
/ / /

 

\OOO\IO\Lll-P~L)J[\)>-‘

N [\) N [\) [\) [\) [\) [\) [\.) »-l l-* >-* d-J >-l r-l >--¢\ >-\ p_a »_a
00 \] O\ Ll`| 45 UJ [\) *_‘ 0 \D 00 \] O\ all h w [\) ‘_‘ ~O

 

 

CaSe 06-01108 Filed 10/20/06 DOC 28

The Adversarv Proceeding Should be Staved While the Debtor Remains in
Q_liapter 13. _

 

The circumstances presented here compel the court to order a stay of the adversary
proceeding “The power to stay proceedings is incidental to the power inherent in every
court to control the disposition of the causes on its docket With economy of time and
effort for itself, for counsel, and for litigants Az`r Ll`ne Pz'lots Ass ’n v. Mz`[ler, 523 U.S.
866, 879, 118 S.Ct. 1761, 140 L.Ed.2d 1070 n.6 (1998) (citation omitted). “A trial court
may, with propriety, find it is efficient for its own docket and the fairest course for the
parties to enter a stay of an action before it, pending resolution of independent
proceedings which bear upon the case.” Leyva v. Certi`jied Grocers of Cal., Lta'., 593
F.zd 857, 863 (9th Cir. 1979). " 7

As discussed above, the court cannot rule on the UST’s Application so long as the
case remains in chapter 13. Dismissal of the adversary proceeding is not the fairest
course of action because that would essentially nullify much of the UST’s efforts up this
point. This adversary proceeding is not moot because the case could be reconverted to
chapter 7 should the Debtor fail to complete his plan. Searles, 317 B.R. at 374. Multiple
“wait and see” status conferences would be an administrative burden on the court and an
unfair burden and expense to the litigants The Debtor is entitled to the presumption that
he will successfully complete his chapter 13 plan, and receive his chapter 13 discharge
Until then, the UST retains her right to move for entry of a judgment should the chapter
13 prove unsuccessful 1n the interest of fairness to the litigants and judicial economy,
the adversary proceeding must be stayed until and unless the case is reconverted to
chapter 7.

Conclusion.

Based on the foregoing, the UST’s Application for Entry of Default Judginent will
be denied without prejudice The Debtor’s Motion to Set Aside Default will also be
denied The adversary proceeding will be stayed For administrative purposes, the

adversary proceeding will be closed until and unless the case is reconverted to chapter 7.

9

\OOO\]O\LJI.|>~L)J[\)

10
ii
i2
13
14
15
16
17
is
19
20
21
22
23
24
25
26
27
28

 

 

___
CaSe 06-01108 Filed 10/20/06 DOC 28

In that event, the adversary proceeding may be reopened, and the stay may be modified,

on application of either party on 10 days’ notice

Dated: October Y ,2006

W. _chhard Lee, Judge
United States Bankruptcy Court

 

 

10

 

CaSe 06-01108 Filed lO/20/06 DOC 28

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

CERT IFICATE OF MAILING

The undersigned deputy clerk in the office of the United
States Bankruptcy Court for the Eastern District of California
hereby certifies that a copy of the document to which this

certificate is attached was mailed today to the following

entities listed at the address shown on the attached list or

shown below.

Kenneth L. Cleveland Frank P. Samples |\/l. Ne|son Enmark
6412 F’arsons Way 1331 L St. 3447 W. Shaw Ave.
Bakersfield, CA 93307 Bakersfie|d, CA 93301 Fresno, CA 93711
U.S. Trustee

Jeffrey Lodge

2500 Tu|are St. #1401
Fresno, CA 93721

DATED: 10/23/06 By: A%i/%€/VC;€_/"§J

Deputy Clerk

EDC 3-070 (New 4/21/00)

